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				Opinions 2016 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
										
						
							September 14, 2016
							S.Ct
							SCWC-15-0000362 [ADA]
							Weinberg v. Dickson-Weinberg (Order Dismissing Petitioner/Plaintiff-Appellant’s “Response to the Supreme Court Ruling”).&nbsp; ICA mem.op., filed 05/31/2016 [ada], 138 Haw. 51.&nbsp; Application for Writ of Certiorari, filed 06/29/2016.&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 07/19/2016 [ada].&nbsp; Motion for Reconsider of Application for Writ of Certiorari, filed 08/26/2016.&nbsp;

							Family Court, 1st Circuit
							
						
										
						
							September 14, 2016
							ICA
							CAAP-16-0000482 [ADA]
							Valencia v. Valencia (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 1st Circuit
							
						
										
						
							September 14, 2016
							ICA
							CAAP-16-0000222 [ADA]
							Hammer v. Hammer (Order Approving with Prejudice the July 27, 2016 Stipulation to Dismiss Appeal).

							Family Court, 1st Circuit
							
						
										
						
							September 13, 2016
							ICA
							CAAP-15-0000743 [ADA]
							Cornelio v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit (Criminal)
							
						
										
						
							September 13, 2016
							ICA
							CAAP-15-0000945 [ADA]
							Villanueva v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit (Criminal)
							
						
										
						
							September 13, 2016
							S.Ct
							SCWC-15-0000012 [ADA]
							State v. Bristow (Order Rejecting Application for Writ of Certiorari). &nbsp; ICA s.d.o., filed 06/08/2016[ada].&nbsp; Application for Writ of Certiorari, filed 08/04/2016.&nbsp;&nbsp;

							District Court, 3rd Circuit, Kona Division
							
						
										
						
							September 13, 2016
							S.Ct
							SCWC-16-0000103 [ADA]
							Middleton v. State (Order Rejecting Application for Writ of Certiorari). &nbsp; ICA Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 06/09/2016 [ada].&nbsp; Appellant’s Motion for Reconsideration of Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 06/16/2016.&nbsp; ICA Order Denying the June 16, 2016 Motion for Reconsideration, filed 06/21/2016 [ada].&nbsp; ICA Order (1) Granting the June 23, 2016 Motion to Strike and (2) Amended Order Denying the June 16, 2016 Motion for Reconsideration, filed 07/05/2016 [ada].&nbsp; Petitioner’s Application for Writ of Certiorari, filed 08/08/2016.&nbsp;

							Circuit Court, 3rd Circuit
							
						
										
						
							September 9, 2016
							ICA
							CAAP-15-0000954 [ADA]
							In re TH (s.d.o., affirmed).&nbsp; Consolidated with No. CAAP-15-0000955.

							Family Court, 1st Circuit (Foster Custody)
							
						
										
						
							September 9, 2016
							ICA
							CAAP-13-0005233 [ADA]
							State v. Tran (Order of Correction).&nbsp; ICA Opinion, filed 07/14/2016 [ada].

							Circuit Court, 1st Circuit
							
						
										
						
							September 9, 2016
							S.Ct
							SCAD-15-0000785 [ADA]
							Office of Disciplinary&nbsp; Counsel v. Smith (Order of Public Reprimand).

							Original Proceeding
							
						
										
						
							September 8, 2016
							ICA
							CAAP-15-0000479 [ADA]
							Gustafson Real Estate LLC v. Watkins (Order Dismissing Motion for Reconsideration).&nbsp; ICA mem.op., filed 07/22/2016 [ada],&nbsp; 138 Haw. 52.&nbsp; Motion for Reconsideration, filed 09/06/2016.&nbsp;&nbsp;

							District Court, 1st Circuit
							
						
										
						
							September 8, 2016
							ICA
							CAAP-15-0000561 [ADA]
							Ford v. Leithhead-Todd.

							Circuit Court, 3rd Circuit
							
						
										
						
							September 6, 2016
							ICA
							CAAP-14-0000361 [ADA]
							Erum v. County of Kauai (s.d.o., affirmed).

							Circuit Court, 5th Circuit (Civil)
							
						
										
						
							September 6, 2016
							S.Ct
							SCWC-14-0001060 [ADA]
							State v. Scalera. (Order Accepting Application for Writ of Certiorari).&nbsp;&nbsp; ICA s.d.o., filed 04/29/2016 [ada].&nbsp; Application for Writ of Certiorari filed, 07/27/2016.

							District Court, 1st Circuit, Kaneohe Division
							
						
										
						
							September 6, 2016
							S.Ct
							SCWC-12-0000758 [ADA]
							Ke Kailani Partners, LLC v. Ke Kailani Development LLC. (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 04/29/2016 [ada], 138 Haw. 51.&nbsp; Consolidated with No. CAAP-12-0000070.&nbsp; Application for Writ of Certiorari, filed 07/25/2016.&nbsp;&nbsp;

							Circuit Court, 1st Circuit
							
						
										
						
							September 2, 2016
							S.Ct
							SCWC-16-0000315 [ADA]
							Bosworth v. Foss Maritime Company (Order (1) Accepting Application for Writ of Certiorari, (2) Vacating the ICA’s July 6, 2016 Order Dismissing the Appeal, (3) Remanding the Case to ICA, and (4) Dismissing the Motion for Leave to Proceed in Forma Pauperis). &nbsp; Dissenting Opinion by J. Nakayama [ada].&nbsp; ICA Order Dismissing the Appeal Pursuant to HRAP 11(b)(2), (c)(2), filed 07/06/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 06/19/2016.&nbsp;&nbsp;

							Labor and Industrial Relations Appeals Board
							
						
										
						
							September 2, 2016
							S.Ct
							SCWC-14-0000871 [ADA]
							LE v. WM (Amended Order Dismissing Application for Writ of Certiorari). &nbsp; ICA s.d.o., filed 06/20/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 08/22/2016.&nbsp; Application for Writ of Certiorari, filed 09/01/2016.

							Family Court, 3rd Circuit
							
						
										
						
							September 1, 2016
							ICA
							CAAP-13-0002125 [ADA]
							Umberger v. Department of Land and Natural Resources (Order of Correction).&nbsp; ICA Opinon, filed 08/31/2016 [ada].

							Circuit Court, 1st Circuit
							
						
										
						
							September 1, 2016
							S.Ct
							SCWC-15-0000402 [ADA]
							State v. Ui (&nbsp;Order Accepting Application for Writ of Certiorai). &nbsp; ICA s.d.o., filed 05/25/2016 [ada].&nbsp; Defendant-Appellant’s Motion for Reconsideration, filed 06/06/2016.&nbsp; ICA Order Denying Motion for Reconsideration, filed 06/15/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 07/20/2016.&nbsp;

							Circuit Court, 3rd Circuit, North and South Kona Division
							
						
										
						
							September 1, 2016
							ICA
							CAAP-15-0000477 [ADA]
							State v. McKinley (Order of Correction). &nbsp; ICA mem.op., filed 08/31/2016 [ada].&nbsp; Concurring and Dissenting Opinion by J. Reifurth [ada].&nbsp;

							Circuit Court, 1st Circuit
							
						
										
						
							September 1, 2016
							S.Ct
							SCWC-12-0000762 [ADA]
							Cox v. Cox (Order Denying Petitioner/Plaintiff-Appellant Bruce Edward Cox’s Motion for Reconsideration).&nbsp; ICA s.d.o., filed 01/29/2015 [ada].&nbsp; Petitioner/Plaintiff-Appellant Bruce Edward Cox’s Application for Writ of Certiorari, filed 02/27/2015.&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 03/12/2015 [ada].&nbsp; Motion for Reconsideration, filed 04/21/2015.&nbsp; ICA Order Denying Motion for Reconsideration, filed 04/23/2015 [ada].&nbsp; Petitioner/Plaintiff-Appellant Bruce Edward Cox’s Second Application for Writ of Certiorari,filed 04/28/2015.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 06/03/2015 [ada].&nbsp; S.Ct. Opinion, filed 08/16/2016 [ada].&nbsp; Dissenting Opinion by C.J. Recktenwald, in which J. Nakayama joins [ada].&nbsp; Petitioner/Plaintiff-Appellant Bruce Edward Cox’s Motion for Reconsideration, filed 08/25/2016.&nbsp;&nbsp;

							Family Court, 1st Circuit
							
						
										
						
							August 31, 2016
							ICA
							CAAP-13-0002125 [ADA]
							Umberger v. Department of Land and Natural Resources.&nbsp; ICA Order of Correction, filed 09/01/2016 [ada].

							Circuit Court, 1st Circuit
							
						
										
						
							August 31, 2016
							ICA
							CAAP-15-0000477 [ADA]
							State v. McKinley (mem.op., vacated and remanded).&nbsp; Concurring and Dissenting Opinion by J. Reifurth [ada].&nbsp; ICA Order of Correction, filed 09/01/2016 [ada].

							Circuit Court, 1st Circuit (Criminal)
							
						
										
						
							August 31, 2016
							S.Ct
							SCWC-15-0000198 [ADA]
							State v. Macaso (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 04/13/2016 [ada],&nbsp;138 Haw. 51 .&nbsp; ICA Order of Correction, filed 07/01/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 07/30/2016.&nbsp;&nbsp;

							Family Court, 1st Circuit
							
						
										
						
							August 31, 2016
							ICA
							CAAP-15-0000593 [ADA]
							Pickett v. Cheesecake Factory Restaurants, Inc. (mem.op., vacated and remanded).

							Labor and Industrial Relations Appeals Board (Attorney's Fee)
							
						
										
						
							August 31, 2016
							ICA
							CAAP-14-0000920 [ADA]
							Shigezo Hawaii, Inc. v. Soy to the World Incorporated (s.d.o., vacated, affirmed and remanded).

							Circuit Court, 1st Circuit (Business Dispute)
							
						
										
						
							August 31, 2016
							ICA
							CAAP-13-0006152 [ADA]
							Kapahu v. Sam’s Club West, Inc. (mem.op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
										
						
							August 31, 2016
							ICA
							CAAP-12-0000711 [ADA]
							Title Guaranty Escrow Services, Inc. v. Wailea Resort Company, Ltd. (mem.op., affirmed).

							Circuit Court, 2nd Circuit (Civil)
							
						
										
						
							August 31, 2016
							ICA
							CAAP-14-0001371 [ADA]
							Bantolina v. Bantolina (mem.op., affirmed, reversed and remanded).

							Family Court, 1st Circuit (Child Support)
							
						
										
						
							August 30, 2016
							ICA
							CAAP-15-0000597 [ADA]
							Cannon v.&nbsp; Cannon (s.d.o., affirmed).

							Family Court, 1st Circuit (Divorce)
							
						
										
						
							August 30, 2016
							ICA
							CAAP-13-0004207 [ADA]
							Alama v. Kahanaoi et al., (s.d.o., affirmed).

							Circuit Court, First Circuit
							
						
										
						
							August 30, 2016
							S.Ct
							SCPW-16-0000575 [ADA]
							Scott v. Cardoza (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 08/18/2016.

							Original Proceeding
							
						
										
						
							August 30, 2016
							S.Ct
							SCWC-11-0000812 [ADA]
							Pouono v. Daiichiya-Loves Bakery, Inc. (Order Approving Stipulation for Dismissal).&nbsp; ICA s.d.o., filed 02/26/2015 [ada], 134 Haw. 477.&nbsp; Petitioner-Claimant Charles P. Pouono’s Application for Writ of Certiorari, filed 06/15/2015.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/30/2015 [ada].&nbsp;

							Labor and Industrial Relations Appeals Board
							
						
										
						
							August 30, 2016
							S.Ct
							SCWC-14-0000833 [ADA]
							State v. Kim (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 06/16/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 06/20/2016.&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 06/23/2016 [ada].&nbsp;&nbsp; Application for Writ of Certiorari, filed 07/15/2016.&nbsp;&nbsp;

							Circuit Court, 1st Circuit
							
						
										
						
							August 29, 2016
							ICA
							CAAP-14-0001074 [ADA]
							Bitterman v. State (s.d.o., affirmed).

							Circuit Court, 3rd Circuit (Habeas Corpus)
							
						
										
						
							August 26, 2016
							S.Ct
							SCWC-13-0000064 [ADA]
							State v. Goebel (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 04/21/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 07/18/2016.&nbsp;&nbsp;

							Family Court, 1st Circuit
							
						
										
						
							August 26, 2016
							ICA
							CAAP-16-0000016 [ADA]
							In re TA, KA, AS (s.d.o., affirmed).

							Family Court, 1st Circuit (Family Supervision)
							
						
										
						
							August 26, 2016
							ICA
							CAAP15-0000487 [ADA]
							State v. Mattos (s.d.o., affirmed).

							District Court, 2nd Circuit, Wailuku Division (OVUII)
							
						
										
						
							August 26, 2016
							ICA
							CAAP-15-0000459 [ADA]
							State v. Perreira (s.d.o., affirmed).

							District Court, 1st  Circuit (OVUII)
							
						
										
						
							August 26, 2016
							ICA
							CAAP-12-0000025 [ADA]
							Goran Pleho, LLC v. Lacy (Order Denying Motion for Partial Reconsideration and Clarifying and Amending the Memorandum Opinion).&nbsp; ICA mem.op., filed 07/29/2016.&nbsp; Motion for Partial Reconsideration of Memorandum Opinion, filed 08/08/2016.&nbsp; ICA Amended Memorandum Opinion, filed 08/26/2016 [ada].

							Circuit Court, 3rd Circuit
							
						
										
						
							August 26, 2016
							ICA
							CAAP-12-0000025 [ADA]
							Goran Pleho, LLC v. Lacy (Amended Memorandum Opinion).&nbsp; ICA mem.op., filed 07/29/2016.&nbsp; Motion for Partial Reconsideration of Memorandum Opinion, filed 08/08/2016.&nbsp; ICA Order Denying Motion for Partial Reconsideration and Clarifying and Amending the Memorandum Opinion, filed 08/26/2016 [ada].&nbsp;&nbsp;

							Circuit Court, 3rd Circuit
							
						
										
						
							August 25, 2016
							ICA
							CAAP-13-0003837 [ADA]
							State v. Diego (s.d.o., affirmed).

							Circuit Court, 3rd Circuit (Attempted Murder)
							
						
										
						
							August 24, 2016
							ICA
							CAAP-13-0005087 [ADA]
							HSBC Bank USA v. Collman (s.d.o., affirmed).

							Circuit Court, 3rd Circuit (Foreclosure)
							
						
										
						
							August 24, 2016
							ICA
							CAAP-13-0003838 [ADA]
							State v. Brown (s.d.o., vacated and remanded).

							District Court, 2nd Circuit, Lahaina Division (OVUII)
							
						
										
						
							August 24, 2016
							ICA
							CAAP-13-0001242 [ADA]
							Cadawas v. Peahu (s.d.o., affirmed).

							Circuit Court, 5th Circuit (Civil)
							
						
										
						
							August 23, 2016
							S.Ct
							SCWC-13-0000379 [ADA]
							State v. Satano (Order Rejecting Application for Writ of Certiorari). &nbsp; ICA s.d.o., filed 05/20/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 07/15/2016.&nbsp;

							Circuit Court, 1st Circuit
							
						
										
						
							August 23, 2016
							ICA
							CAAP-12-0001026 [ADA]
							Zephyr Insurance Company v. Insurance Commissioner (Order Approving the August 15, 2016 “Stipulation for Dismissal of Appeal with Prejudice”).

							Circuit Court, 1st Circuit
							
						
										
						
							August 23, 2016
							ICA
							CAAP-15-0000403 [ADA]
							State v. Vacchelli (mem.op., affirmed).

							Circuit Court, 1st Circuit (Criminal)
							
						
										
						
							August 22, 2016
							S.Ct
							SCWC-14-0000828 [ADA]
							County of Kauai v. Hanalei River Holdings Limited (Order Accepting Application for Writ of Certiorari).&nbsp; ICA Opinion, filed 03/31/2016 [ada], 137 Haw. 471.&nbsp; Application for Writ of Certiorari, filed 07/10/2016.&nbsp;&nbsp;

							Circuit Court, 5th Circuit
							
						
										
						
							August 18, 2016
							S.Ct
							SCWC-13-0000396 [ADA]
							State v. Ichimura (Order Accepting Application for Writ of Certiorari). &nbsp; ICA s.d.o., filed 04/06/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 07/08/2016.&nbsp;&nbsp;

							Circuit Court, 1st Circuit
							
						
										
				
			
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